                 Case 23-19831-PDR        Doc 52     Filed 02/22/24    Page 1 of 8



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   BROWARD DIVISION

IN RE:                                                              CASE NO. 23-19831-PDR

FIRST QUALITY LABORATORY, INC.,                             Chapter 11
      Debtor.
_________________________________/

         DEBTOR’S MOTION FOR APPROVAL OF POST-PETITION FINANCING

              [EXPEDITED HEARING REQUESTED TO OBTAIN PRELIMINARY
                APPROVAL TO AVOID DELAY IN THE REORGANIZATION]

      First Quality Laboratory, Inc., the debtor and debtor-in-possession (the “Debtor”),

respectfully requests entry of an Order approving the post-petition financing agreement with RCE

Group USA LLC owned and operated by Dr. Hugo Romeu and Dr. Camille Romeu (collectively,

the “RCE Group”), the preliminary terms of the agreement prepared by Dr. Hugo Romeu on behalf

of the RCE Group is Exhibit A, under 11 U.S.C.A. §§ 363 and 364, and Fed. R. Bankr. P. 4001 and

9014, and states:

                                     Summary Critical Terms

               RCE Group Fund $200,000 Postpetition Working Capital Loan

               Simple ten percent interest

               RCE Group allowed an administrative claim

               RCE Group Bring Substantial New Accounts/Revenues

               RCE Group Negotiate Debtor’s Owners Converting The $200,000 Debt to

                Equity Under Confirmed Plan

               RCE Group Does Not Seek Lien To Secure Financing

                          Motion To Authorize Postpetition Financing

         1.     On November 29, 2023, the Debtor filed a voluntary petition for relief under Chapter

                                                 1
                 Case 23-19831-PDR          Doc 52      Filed 02/22/24     Page 2 of 8



11 of Title 11 of the Bankruptcy Code.

        2.      The Debtor continues to operate and manage its business as the debtor-in-possession

under §§ 1107 and 1108.

        3.      The Debtor has been running a phlebotomy clinic since 2006. The clinic employs

certified medical technicians called phlebotomists who draw blood from patients. The blood samples

are processed and analyzed on-site in the Debtor's laboratory. The clinic offers various types of testing

such as Hematology, Chemistry, Special Chemistry, Therapeutic Drugs, Urine Tests, Coagulation,

Blood Bank, Immunology, Microbiology, Gynecology, and Covid. Each category includes specific

tests. The Debtor provides the test results, generally the same day, directly to the patient or the

requesting physician, who may also access the test through the online portal system.

        4.      The Debtor is located at 20861 Johnson St, #117 and #118 in Pembroke Pines, FL

33029. The Debtor offers in-home testing upon request.

        5.      The Debtor's revenue suffered a significant decline due to the Covid pandemic and

the forced relocation to another facility after the Debtor lost an eviction action by its former landlord

that resulted from a ridiculous dispute of inconsequential repairs the landlord had demanded the

Debtor pay for. The forced relocation disrupted revenues, and outfitting the new space costs

significantly more than expected. As a result, the Debtor fell behind in the payment to creditors. To

address this, the Debtor sought a forgivable loan from the SBA, but the SBA later determined that the

Debtor did not qualify because too many of its staff were independent contractors. As a result, the

SBA began aggressive collection efforts. The Debtor sought short-term, overly expensive loans to

plug the working capital hole. These loans typically allow the creditors to take payments unilaterally

from the Debtor's bank account. As a result, several creditors, including the SBA, were directly

dipping into the Debtor's bank accounts, leaving it without sufficient cash flow to operate its business.

The Debtor was then litigating three separate collection actions in state court. The cash flow/working

                                                    2
                  Case 23-19831-PDR         Doc 52      Filed 02/22/24     Page 3 of 8



capital situation became untenable and forced the Debtor to file for bankruptcy protection without

any opportunity to negotiate a smooth transition with its creditors and vendors.

        6.        Post-petition, the Debtor requested that payments from the Centers For Medicare &

Medicaid Services (CMMS) be deposited into the Debtor’s DIP account at Wells Fargo.

Unfortunately, CMMS takes six weeks or more to process the request before these payments will

restart. The delay in receiving the CMMS payments has made it virtually impossible for the Debtor

to rebuild the necessary working capital reserves through post-petition operations.

        7.        Postpetition the Debtor’s monthly cash receipts and disbursements are:

              a. December 2023: Rec. $106,219; Disb. $102,075.

              b. January 2024: Rec. $59,475.07; Disb. $54,764.

              c. Feb. 2024 (projected): Rec. $100,000; Disb. $101,032.

              d. Mar. 2024 (projected): Rec. $110,000; Disb. $106,032.06.

              e. April 2024 (projected): Rec. $140,000; Disb. $101,862.

The February – April 2024 budget is attached as Exhibit B.

             8.   The increase in revenues in April is from new business Doctor Hugo Romeu of the

  RCE Group, which will be brought immediately upon approval of this motion. The Debtor’s cash

  flow difficulties that predate the filing will be resolved through Doctor Hugo Romeu of the RCE

  Group’s funding of $200,000 for working capital. The Debtor has entered into a preliminary

  agreement with the RCE Group to obtain the much-needed working capital. The RCE Group will

  fund, upon Court approval, up to $200,000 in working capital that the Debtor estimates is sufficient

  to return the Debtor to normal business operations. The RCE Group will bring substantial new

  business that will quickly replace the Debtor to a profitable going concern. The combined benefits

  will allow the Debtor not only to stabilize but also substantially expand its business base and propose

  a plan of reorganization that will allow the Debtor to exit bankruptcy successfully.
                                                    3
                Case 23-19831-PDR         Doc 52      Filed 02/22/24    Page 4 of 8



        9.      The Debtor has no opportunity to obtain non-priority unsecured debt under these

circumstances. Dr. Hugo Romeu and the RCE Group are independent of the Debtor and its

principles and agents, including the undersigned, and do not hold any interest adverse to the estate.

Dr. Hugo Romeu intends to appear at the hearing on the Motion to answer whatever questions the

parties in interest may have concerning the agreement or his commitment to assisting the Debtor in

reorganizing.

        10.     The Debtor, therefore, requests that the Court, after notice and an expedited hearing,

enter an Order authorizing the Debtor to borrow the $200,000 working capital from the RCE Group

and allow the RCE Group an administrative claim for the funds loaned under 11 U.S.C.A. §§ 503(b)

and 507(b). The interest rate on the funds will be 10% simple interest. Moreover, the RCE Group

and the Debtor intend to negotiate the RCE Group’s acquisition of a percentage ownership in the

Debtor, which will be funded through the conversion of the $200,000 administrative claim into

equity upon confirmation of the plan of reorganization, thereby unburdening the Debtor of the

obligation to repay the loan.

        11. The RCE Group is not requesting the imposition of liens, super-priority liens, or even

a super-priority administrative claim for the $200,000 loan. Therefore, the proposed financing will

not adversely affect the Debtor's existing secured creditors. Moreover, Dr. Hugo Romeu, on behalf

of the RCE Group, has previously acquired partial ownership of a company inside a pending

bankruptcy and is willing to assist in negotiating consensual agreements with the Debtor’s secured

creditors and the Debtor’s equipment lessor that will be included in what is contemplated to be a

fully consensual reorganization plan.

        12. The Debtor believes the combined benefits from the agreement with Dr. Hugo Romeu

and the RCE Group are in the Debtor's and creditors' best interest as it will provide a reorganization

path.
                                                  4
               Case 23-19831-PDR        Doc 52      Filed 02/22/24    Page 5 of 8



        WHEREFORE, the debtor respectfully requests that the Court approve the above-

described financing arrangement and grant RCE Group an administrative claim up to the amount of

financing funded into the Debtor’s DIP account and grant such other and further relief as the court

deems just and proper.

       I CERTIFY that a copy of the preceding was served on all parties entitled to receive notice

under the Court’s ECF system on February 22, 2024.


                      /s/ Gary M. Murphree
                      Gary M. Murphree, Esq.
                      FBN 996475
                      AM Law
                      Counsel for the Debtor
                      10743 SW 104TH Street
                      Miami FL 33176
                      305-441-9530
                      Email: pleadings@amlaw-miami.com;
                      gmm@amlaw-miami.com




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                                                                                        Case 23-19831-PDR                                                                    Doc 52                             Filed 02/22/24                                              Page 6 of 8




                                     Asset Purchase/Partnership between First Quality Lab and
                                     RCE GROUP USA/RCE GROUP MEDICAl, Inc.
                                     Introduction

                                     This is a tentative rudimentary agreement pending approval by the court since
                                     First Quality Lab is currently under a Chapter 11.

                                    RCE/ Dr. Hugo Romeu and Dr. Camille Romeu, are currently under discussions
                                    with First Qua/ity/Fernanda Garcia and Maria Garcia, with their legal
                                    representation.

                                    INTENTIONS;

                                                  1. Capita/Injection to operate Lab. $200,000 over 30 days.
                                                  2. Bring accounts upon court approval to significantly augment the total
                                                     daily accession numbers. Please note RCE are Pathologists and Lab owners
                                                     that already have an existing account portfolio.
                                                  3. Direct involvement In laboratory and administrative operation. (hands
                                                     on)
                                                  4. Negotiate the existing debt and liquidate within 6 months.
                                                  5. Maintain current operation by assuming all obligations including but not
                                                     limited to rent, pay roll, reagents and supplies.


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                                                               RCEG


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                                                                                                                          Exhibit A Page 1 of 1 RCE Group Term Sheet
                        Case 23-19831-PDR       Doc 52    Filed 02/22/24             Page 7 of 8


            FIRST QUALITY LABORATORY, INC
                  CASH FLOW BUDGET

                                                Febrero           Marzo             Abril        TOTAL
Income                                      $ 100,000.00 $ 110,000.00            $ 140,000.00 $ 350,000.00

Cost of Goods Sold
 Cost of Goods Sold
   Computer Software Lab                             125.00           125.00              125.00            375.00
   Reagents                                        8,500.00         9,000.00            10,000.00         27,500.00
   Laboratory Supplies                             7,800.00         7,800.00             8,200.00         23,800.00

   Maintenance Lab Equipment hematology            1,699.79         1,699.79             1,699.79          5,099.38
   Equipment beckman                               7,000.00         7,000.00             7,000.00         21,000.00
 Total Cost of Goods Sold                   $ 25,124.79 $ 25,624.79 $                 27,024.79 $       77,774.38

Expenses
 Advertising and Promotion                             8.00               8.00               8.00             24.00
 Automobile Expense
   GPS                                               300.00           300.00              300.00            900.00
   Gas                                             1,603.19         1,603.19             1,603.19          4,809.56
   Lease                                           5,906.56         5,906.56             5,906.56         17,719.68
   Parking and Tolls                                 500.00           500.00              500.00           1,500.00
   Insurance                                       2,101.02         2,101.02             2,101.02          6,303.06
   Registration Renewal                              100.00           100.00              100.00            300.00
 Total Automobile Expense                   $     10,510.77   $    10,510.77     $      10,510.77   $     31,532.30
 Bank Service Charges
   Bank Fee                                          800.00           800.00              800.00           2,400.00
 Total Bank Service Charges                 $        800.00   $      800.00      $        800.00    $      2,400.00
 Dues and Subscriptions                               70.00            70.00                70.00           210.00
 Independent Contractor
   Phlebotomy (1 ) (yanet)                         2,500.00         2,500.00             2,500.00          7,500.00
   Phlebotomy (2) (Janeth)                         2,500.00         2,500.00             2,500.00          7,500.00
   Phlebotomy (3) (Adrian Barbosa)                   240.00           240.00              240.00            720.00
   Driver (1) (Luis Martinez)                      2,400.00         2,400.00             2,400.00          7,200.00
   Driver (2) (Matthew Jaramillo)                  2,400.00         2,400.00             2,400.00          7,200.00
   Data Entry (1) (Miguel Goffredo)                3,000.00         3,000.00             3,000.00          9,000.00
   Data Entry (2) (orlando)                          400.00           400.00              400.00           1,200.00
   Technologists 1                                 4,000.00         4,000.00             4,000.00         12,000.00
   Technologists 2 (Priscilla Cordero)             4,000.00         4,000.00             4,000.00         12,000.00
   Technologists 3 (Diego Ponton)                    600.00           600.00              600.00           1,800.00
   Consulting (Sergio Argueda)                     2,000.00         2,000.00             2,000.00          6,000.00
   Pathology (Hugo Romeu)                          2,000.00         2,000.00             2,000.00          6,000.00
   Lab Assitant (Lauren Castellano)                2,400.00         2,400.00             2,400.00          7,200.00
   Financial 1 ( Shirley Castrillo)                3,000.00         3,000.00             3,000.00          9,000.00
   Financial 2 (Lili Castro)                       1,500.00         1,500.00             1,500.00          4,500.00
   customer service (Susana Ordaz)                 3,000.00         3,000.00             3,000.00          9,000.00



                               Exhibit B   Page 1 of 2 Feb.-Apr. Budget
                         Case 23-19831-PDR       Doc 52       Filed 02/22/24         Page 8 of 8


  Commercial 1                                      2,400.00         2,400.00             2,400.00          7,200.00
 Total Independent Contractor                $     38,340.00    $   38,340.00   $        38,340.00   $    115,020.00
 Interest Expense                                    750.00           750.00                                1,500.00
 Insurance Expense - Lab
  Liability Insurance
  work compensation                                    97.92            97.92                97.92           293.75
 Total Insurance Expense - Lab               $        97.92    $       97.92    $           97.92    $       293.75
 Meals and Entertainment
 Office Expenses                                    2,000.00         2,000.00             2,000.00          6,000.00
 Payroll
  Fernanda Garcia (i)                                   0.00             0.00                 0.00              0.00
  Maria Garcia (i)                                      0.00             0.00                 0.00              0.00
  Sales Rep 2                                       2,400.00         2,400.00             2,400.00          7,200.00
  Taxes                                              200.00           200.00               200.00            600.00
 Total Payroll                               $      2,600.00   $     2,600.00   $         2,600.00   $      7,800.00
 Sales & Comissions Expenses
 Rent Expense
  Rent - Lab                                       11,168.92        11,168.92            11,168.92         33,506.76
  Storage                                              90.00            90.00                90.00           270.00
 Total Rent Expense                          $     11,258.92    $   11,258.92   $        11,258.92   $     33,776.76
  Bioreference Laboratories                             0.00         5,000.00                 0.00          5,000.00
 Permits and Licenses
  Medical Licenses                                  1,666.67         1,166.67             1,166.67          4,000.00
 Total Permits and Licenses                  $      1,666.67   $     1,166.67   $         1,166.67   $      4,000.00
 Utilities - Lab
  Electricity (2)                                   2,600.00         2,600.00             2,600.00          7,800.00
  Culligan and hess                                  965.00           965.00               965.00           2,895.00
  Fax                                                140.00           140.00               140.00            420.00
  Computer and Internet Expenses                    1,200.00         1,200.00             1,200.00          3,600.00
  Telephone Expense                                 1,900.00         1,900.00             1,900.00          5,700.00
 Total Utilities - Lab                       $      6,805.00   $     6,805.00   $         6,805.00   $     20,415.00
 Trust Fee                                   $     1,000.00    $    1,000.00    $        1,000.00    $     3,000.00
Total Expenses                               $ 101,032.06 $ 106,032.06              $ 101,682.06 $ 308,746.19

NET CASH FLOW                                -$ 1,032.06 $          3,967.94 $         38,317.94 $       41,253.82

(i) Fernanda and Maria Garcia, the owners, are not being paid their monthly $10,000 postpetition due
to the debtor's cash flow difficulties and to facilitate a successful reorganization.




                           Exhibit B     Page 2 of 2 Feb.-Apr. Budget
